         Case 3:21-cv-00309 Document 6-2 Filed on 11/15/21 in TXSD Page 1 of 2




                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                GALVESTON DIVISION

    THE STATE OF TEXAS,                          §
         Plaintiff,                              §
                                                 §
    v.                                           §     CIVIL ACTION NO. 3:21-CV-309
                                                 §
    JOSEPH R. BIDEN, in his official             §
    capacity as President of the United          §
    States, et al.,                              §
            Defendants.                          §


       PROPOSED ORDER ON THE STATE OF TEXAS’S MOTION FOR
    TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION


          On this day, the Court considered the State of Texas’s Motion for Temporary

Restraining Order and Preliminary Injunction. After having considered the motion and any

response, the Court is of the opinion that the Motion for Temporary Restraining Order should

be in all respects GRANTED.

          IT IS HEREBY ORDERED that:

          1. Defendants’ Contractor Mandate, including President Biden’s Executive Order
             14042, 1 the OMB Rule, 2 the Task Force Directive, 3 the FAR Council Directive and
             accompanying Deviation Clause, 4 are void and unenforceable to the extent that
             they require any individual to receive a COVID vaccination in connection with a
             federal contract.




1 86 Fed. Reg. 50,985–88 (Dkt. #1-2 at 2–5).
2 86 Fed. Reg. 53,691–92 (Dkt. #1-2 at 22–23).
3 Safer Federal Workforce Task Force, COVID-19 Workplace Safety: Guidance for Federal

Contractors and Subcontractors (Dkt. #1-2 at 7–20).
4 Memorandum from FAR Council to Chief Acquisition Officers et al. re: Issuance to Agency

Deviations to Implement Executive Order 14042 (Sept. 30, 2021) (Dkt. #1-2 at 25–29).
    Case 3:21-cv-00309 Document 6-2 Filed on 11/15/21 in TXSD Page 2 of 2




      2. Defendants shall not impose any COVID-19 vaccination requirement on any
         federal contractor or subcontractor or enforce any COVID-19 vaccination
         requirement on any federal contractor or subcontractor.

      3. Defendants shall not include any clauses related to COVID-19 or vaccinations in
         any contract entered into with any federal contractor or subcontractor, nor shall
         Defendants enforce any such clauses in any contracts already entered into.




Signed on ___________________________, 2021.




                                                __________________________
                                                HONORABLE JEFFREY V. BROWN
